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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                    CRIMINAL DOCKET

VERSUS                                                      NO. 07-273

ISAAC J. BOLTON                                             SECTION “B”(5)


                                      ORDER

     Considering Isaac J. Bolton's Motion to Reduce Sentence (Rec.

Doc. No. 404),

     IT IS ORDERED that the Motion is DENIED. While the Court

admires and commends Mr. Bolton for his efforts and completion of

the Drug Abuse Program, it cannot provide him the relief he seeks.

The Court cannot reduce his sentence under the statute cited, as it

only authorizes the Bureau of Prisons--and not the judiciary--to

reduce    sentences   for    the   reasons    provided.   See      18   U.S.C.    §

3621(e)(2)(B) ("The period a prisoner convicted of a nonviolent

offense    remains    in    custody   after    successfully        completing     a

treatment program may be reduced by the Bureau of Prisons, but such

reduction may not be more than one year from the term the prisoner

must otherwise serve.")(emphasis added).



     New Orleans, Louisiana, this 14th day of March, 2014.



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                                      UNITED STATES DISTRICT JUDGE
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